Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 1 of 12




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                                      Case No. 1:21-cv-20039-RNS


  JOE MORFORD,

                         Plaintiff,

  vs.

  MAURIZIO CATTELAN,

                         Defendant.

  _________________________________________/


             DEFENDANT MAURIZIO CATTELAN’S REPLY IN SUPPORT OF
                MOTION TO SET ASIDE ENTRY OF CLERK’S DEFAULT

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Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 2 of 12




         Defendant Maurizio Cattelan files this reply memorandum (the “Reply”) in support of his

  Motion to Set Aside Entry of Clerk’s Default (the “Motion”) [ECF 31] and in response to

  Plaintiff’s Response to Motion to Set Aside Default (the “Response”) [ECF 37].

         As set forth in more detail below, Plaintiff fails to rebut Defendant’s showing of good cause

  for entry of an order vacating the clerk’s default.

                                             ARGUMENT

  I.     Defendant’s Failure to Respond to the Complaint Was Neither Culpable nor Willful

         Plaintiff argues that Defendant’s failure to respond to the Complaint was willful and in

  reckless disregard of judicial proceedings because he intentionally ignored his mail and deliveries

  to his New York apartment for twenty (20) months. (Response at 1-2). Defendant cites Turner v.

  Smith, Dean & Associates, No. 8:10-CV-1665-JDW, 2011 WL 589473, at *1 (M.D. Fla. Feb. 10,

  2011), which is inapposite to the facts here. In Turner, a corporate defendant representing itself

  pro se ignored a court order requiring it to obtain counsel and to file its answer through counsel.

  After the defendant failed to do so, a default was entered. The court did not vacate the clerk’s

  default because the defendant’s disregard for the orders demonstrated willfulness. Id. at **1-2.

         Turner bears no resemblance to the facts here. The record is undisputed that Defendant,

  an Italian citizen and resident of Milan, had no knowledge of the Complaint until he returned to

  the United States after a twenty (20) month absence due to the COVID-19 pandemic and related

  travel restrictions. (Cattelan Decl. ¶¶ 1-5) [ECF 31-1]. In fact, Plaintiff knew from his first effort

  to serve the Complaint that Defendant had not been to his New York apartment in over a year. See

  Sheriff’s Affidavit of Attempted Service [ECF 13, at 1] (“The location is respondent’s vacation

  house. As per doorman respondent has not been to the address over a year.”). Knowing that

  Defendant had not been to his New York apartment for over a year, Plaintiff proceeded to serve

  him in New York instead of trying to serve him in Italy.


                                                    1
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 3 of 12




         Further, Defendant has not flouted court orders as the defendant did in Turner. Defendant

  acted promptly to retain counsel and to move to vacate the default once he learned of the complaint.

  (Cattelan Decl. ¶¶ 4-5). Nothing about Defendant’s conduct signifies an intentional decision to

  not respond to the complaint or to interfere with the judicial process. A foreign national should

  not suffer the consequences of the entry of default for failing to check his mail at a secondary

  residence during a pandemic that prevents him from even entering the country.

  II.    Setting Aside the Default Will Not Prejudice Plaintiff

         Plaintiff argues that he will be prejudiced if the clerk’s default is vacated because the delay

  “facilitates the chance to conceal or destroy evidence and [to] retroactively coordinate or fabricate

  the appearance of independent creation should the Defendant be so inclined.” (Response at 2).

  Plaintiff argues Defendant would be so inclined because of his views on “art appropriation” and

  “disdain for copyright law.” (Response at 2). Plaintiff quotes incomplete excerpts from published

  articles about Defendant’s work that misrepresent the statements due to their incompleteness.

  Plaintiff’s use of Fed. R. Evid. 406 is misplaced, and the argument is nothing more than a baseless

  and irrelevant attack on Defendant’s character. Defendant’s views on artmaking (unfaithfully

  represented by Plaintiff’s incomplete quotes) prove nothing about Defendant’s respect for the

  judicial process and it is offensive for Plaintiff to suggest that Defendant would destroy evidence

  or interfere with witnesses.

         At bottom, the seven (7) month delay caused by Defendant’s COVID-19-related absence

  from the United States has caused no prejudice to Plaintiff. He has failed to identify any evidence

  or witnesses who are lost or at are at risk of being lost due to the delay.

  III.   Defendant Has Meritorious Defenses Warranting the Entry of an Order Vacating the
         Clerk’s Default

         A.      Defendant Has Meritorious Defenses to Plaintiff’s Copyright Claim.



                                                    2
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 4 of 12




         As Plaintiff correctly states, “in assessing a defendant’s meritorious defense, the likelihood

  of success is not the measure. [Defendant’s] allegations are meritorious if they contain even a hint

  of a suggestion which, if proven at trial, would constitute a complete defense.” (Response at 5)

  (citing Sobkowski, 2004 WL 3569703 at 3). In his Motion, Defendant argues that Plaintiff’s

  copyright claim fails because, among other reasons: (1) he is attempting to claim ownership of a

  natural element that exists in the world (a fruit) and a utilitarian, functional component (duct tape),

  which U.S Copyright law does not allow; (2) Plaintiff cannot establish Defendant’s access to

  Plaintiff’s work; and (3) there is no substantial similarity between protectible aspects of Plaintiff’s

  work and Defendant’s work. Nothing in Plaintiff’s Response negates Defendant’s arguments,

  which clearly contain much more than “a hint of a suggestion” of a complete defense.

         1.      Plaintiff Cannot Extend His Alleged Copyright to Cover
                 Elements that Exist in Nature and/or Utilitarian Components.

         It is well-established that “[t]he mere fact that a work is copyrighted does not mean that

  every element of the work is protected, because copyright protection extends only to the original

  elements of expression in a work.” Id. Unable to refute the authority cited by Defendant for the

  proposition that elements that exist in nature or the public domain are not copyrightable (see, e.g.,

  Stewart v. Abend, 495 U.S. 207, 234 (1990); Satava v. Lowry, 323 F.3d 805, 810 (9th Cir. 2003);

  Herbert Rosenthal Jewelry Corp. v. Kalpakian, 446 F.2d 738, 741 (9th Cir. 1971), Plaintiff readily

  admits in his opposition that neither a banana, including an exact replica of a banana, nor duct

  tape, including a fabricated replica of duct tape, are entitled to copyright protection. (Response at

  17).

         Nonetheless, Plaintiff inexplicably asserts that these “individual elements used to create

  the expression in either piece cannot be legally removed from the analysis.” (Id.) Plaintiff’s

  contention is directly belied by the law in this Circuit (see infra at pp.7-8) which requires, among



                                                    3
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 5 of 12




  other things, that to establish substantial similarity, “[a] court must filter out and disregard the non-

  protectable elements.” Compulife Software Inc. v. Newman, 959 F.3d 1288, 1303 (11th Cir. 2020).

  Furthermore, the Ninth Circuit in Satava, supra, 323 F.3d 805, having considered Plaintiff’s very

  argument, found that the plaintiff’s sculpture “merely combined several unprotectable ideas and

  standard elements” that were elements of the public domain, including tendril-like tentacles,

  rounded bells, and a clear outer layer of glass, “without the quantum of originality needed to merit

  copyright protection.” Id. at 811, 813. Thus, the Court concluded that a purported copyright holder

  “may not prevent others from copying aspects of his sculptures resulting from either [the animal’s]

  physiology or from [the animal’s] depiction in the [particular artistic] medium.” Id. at 810; see

  also George S. Chen Corp. v. Cadona Int’l, Inc., No. 04-365, 2006 WL 8450995 at *5 (C.D. Cal.

  Feb. 14, 2006) (“[L]ike the jellyfish sculpture in Satava, [plaintiff’s products are] a combination

  of unprotectable ideas without the quantum of originality necessary for the combination to

  constitute an original work of authorship.”).

          Despite Plaintiff’s statements that “I do not assert a copyright claim to the idea of a banana

  duct taped to a wall. People are free to duct-tape all the bananas they want to a wall” (Response

  at 21), that is exactly what Plaintiff, by this lawsuit, improperly purports to do. It is beyond

  peradventure that the concept of the combination of two (2) unprotectible elements without more

  is not protected by the copyright laws.

          Also without merit is Plaintiff’s conclusory statement that the duct tape used by Defendant

  is non-functional. 1 Not only is Plaintiff’s statement rank hearsay, which is not properly considered

  by the Court, but even a cursory review of Defendant’s work patently reveals that the duct tape is,




  1
   The fact that the duct tape in Plaintiff’s work is not functional is irrelevant; the point is that the
  duct tape in Defendant’s work is functional.


                                                     4
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 6 of 12




  in fact, used to affix the banana to the wall. 2 Thus, Plaintiff cannot seek to extend his purported

  copyright to Defendant’s use of duct tape. See, e.g., Norris Indus., Inc. v. Int’l Tel. & Tel. Corp.,

  696 F.2d 918, 923 (11th Cir. 1983) (holding that wire wheel covers were “useful articles containing

  no physically or conceptually separable works of art” and not entitled to copyright protection);

  Progressive Lighting, Inc. v. Lowe’s Home Ctrs., Inc., 549 F. App’x 913, 920-21 (11th Cir. 2013)

  (holding that light fixture were useful articles without separate artistic, nonfunctional elements);

  11 Nimmer on Copyright § 906.8 (useful articles).

         Therefore, even assuming that Plaintiff’s copyright is valid, it cannot be extended to bar

  Plaintiff from using solely an actual banana and duct tape – elements that exist in nature and the

  world, and/or are used for functional purposes.

         2.      Plaintiff Cannot Establish Access.

         In his Response, Plaintiff argues that Defendant had access to Plaintiff’s work because,

  “for example, Google Analytics alone, show inescapable and inordinate viewing of the post

  ‘Banana & Orange’ originating from given, relevant market(s), prior to the Defendant’s first

  rendition appearing.    This same cluster of views then immediately stopped all before the

  appearance of the Defendant’s initial plagiarism.” (Response at 22). Plaintiff’s argument, to the

  extent it is even comprehensible, fails to address Defendant’s lack of access to his work. In his

  complaint/statement of claim, Plaintiff’s sole allegation concerning access is that Plaintiff posted

  an image of his work on his own Facebook page and that it appeared on YouTube. Plaintiff’s

  Response does nothing to negate that these allegations are insufficient as a matter of law to

  establish access necessary to support a copyright claim. See, e.g., Design Basics, LLC v. Lexington




  2
    Defendant does not contend that the duct tape is the only adhesive element in Comedian, only
  that it is one important adhesive element.


                                                    5
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 7 of 12




  Homes, Inc., 858 F.3d 1093, 1108 (7th Cir. 2017) (holding that the “existence of the plaintiff’s

  copyrighted materials on the Internet” does not raise a genuine issue of material fact as to access);

  Cain v. Hallmark Cards, Inc., Civ. No. 3:15-00351, 2016 WL 3189231, at *5 (M.D. La. June 6,

  2016) (“[C]ourts have consistently refused to treat internet publication alone as sufficient to

  engender this requisite possibility.”); Stabile v. Paul Smith Ltd., 137 F.Supp.3d 1173, 1187 (C.D.

  Cal. 2015) (“[S]imply displaying an image on a website for an undeterminable period of time is

  insufficient to demonstrate that it was widely disseminated.”); Loomis v. Cornish, No. CV 12-

  5525, 2013 WL 6044345, at *12 (C.D. Cal. Nov. 13, 2013) (“The availability of a copyrighted

  work on the Internet, in and of itself, is insufficient to show access through wide-spread

  dissemination.”), aff’d, 836 F.3d 991 (9th Cir. 2016); Hayes v. Minaj, No. 2:12-cv-07972, 2012

  WL 12887393, at *3 (C.D. Cal. Dec. 18, 2012) (same); O’Keefe v. Ogilvy & Mather Worldwide,

  Inc., 590 F.Supp.2d 500, 515 (S.D.N.Y. 2008) (same).

                  3.      Plaintiff Cannot Establish Substantial Similarity
                          Regarding Protectable Elements of His Work.

          In his Response, Plaintiff offers the bare conclusion that Defendant’s work is “strikingly

  similar” to Plaintiff’s work because they both include a banana (or a depiction of a banana) and

  duct tape. In so concluding, Plaintiff ignores the test utilized in this Circuit to determine substantial

  similarity and otherwise offers no analysis whatsoever. As previously indicated, in the Eleventh

  Circuit, to establish substantial similarity, “[a] court must filter out and disregard the non-

  protectable elements.” Compulife Software Inc. v. Newman, 959 F.3d 1288, 1303 (11th Cir. 2020)

  (“Filtration, again, refers to the process of separating the protectable elements of a copyrighted

  work from elements that, for one reason or another, aren't protected.”). Notably, Plaintiff does not

  cite a single Eleventh Circuit case on the substantial similarity issue because he knows that the law

  in this Circuit does not support his position. Under Eleventh Circuit law, the defendant has the



                                                     6
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 8 of 12




  burden of proving that elements of a work are unprotectable. See Compulife Software Inc., 959

  F.3d at 1306. After filtering out similarities as to the non-protectable elements, “the burden shifts

  back to the plaintiff to prove substantial similarity between any remaining (i.e., unfiltered)

  protectable material and the allegedly infringing work.” Id. If the defendant demonstrates that the

  works are similar only as to “unprotectable material, such that no substantial similarities remain

  after filtration, the defendant is entitled to summary judgment.” Id. Simply put, “the court will

  determine whether [the plaintiff] seeks to protect only uncopyrightable elements,” and if so, the

  works are not substantially similar as a matter of law, and summary judgment is appropriate. Lil’

  Joe Wein Music v. Jackson a.k.a. 50 Cent, 245 F. App’x 873, 877 (11th Cir. 2007).

         Based on the controlling authority set forth above, which Plaintiff completely ignores,

  Plaintiff seeks to protect only uncopyrightable elements – a banana and duct tape. There is simply

  nothing more to Defendant’s Comedian. Therefore, as a matter of law, the works are not

  substantially similar, and Plaintiff cannot succeed on his copyright claim. See, e.g., Cortes v.

  Universal Music Latino, 477 F.Supp.3d 1290, 1297 (S.D. Fla. 2020) (“For the substantial

  similarity analysis, courts must compare the competing works side-by-side…Having done so here,

  the Court finds that Defendants are entitled to summary judgment because the works are only

  similar as to unprotectable elements and share no commonality at the level of protectable

  expression”). 3

         Plaintiff has failed to show that Defendant lacks a meritorious defense or that Defendant

  failed to demonstrate a “hint of      suggestion” that there is a meritorious defense.        Grupo



  3
     Even by Plaintiff’s erroneous standard, Defendant’s work is not “substantially similar” to
  Plaintiff’s. For example, none of the things that are even remotely unique in Plaintiffs’ work - -
  namely the diptych nature of Plaintiff’s work given the combination of an orange and banana, the
  green background, the angles of the banana and the duct tape - - are present in Defendant’s work.
  Thus, there is no substantial similarity, let alone striking similarity.


                                                   7
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 9 of 12




  Especializado de Servicios Aeros S de RL de CV v. VP Sales & Consulting, Inc., No. 16-60937-

  CIV-Scola, 2016 WL 10953911, at *2 (S.D. Fla. June 30, 2016).

         B.      The Court Lacks Personal Jurisdiction Over Defendant.

         Plaintiff has failed to show that Defendant has no defense of a lack of personal jurisdiction.

                  1      Jurisdiction Fails Under Florida’s Long-Arm Statute.

         Plaintiff argues the Court has personal jurisdiction over Defendant pursuant to Fla. Stat.

  § 48.193(1)(a)1, 2, and 6. (Response at 11-12). However, there is no basis for jurisdiction under

  these provisions of the long-arm statute.

         First, “to establish that a defendant was carrying on a business or business venture in the

  state, either itself or through an agent [pursuant to Fla. Stat. § 48.193(1)(a)1], “[t]he activities of

  the [defendant] sought to be served ... must be considered collectively and show a general course

  of business activity in the State for pecuniary benefit.” Sculptchair, Inc. v. Century Arts, Ltd., 94

  F.3d 623, 627 (11th Cir. 1996). Defendant did not solicit business in Florida. He did not

  personally attend or exhibit his work at Art Basel in Miami Beach in 2019. Rather, Defendant’s

  gallery, Perrotin, exhibited Comedian. (Cattelan Decl. ¶ 8). Further, Defendant had no control

  over Perrotin’s exhibit at the art fair. (Id.).       Plaintiff claims a New York magazine article

  establishes Defendant’s control over the sales in Florida. However, a copy of the article (attached

  as Exhibit A) is hearsay and does not prove anything other than that there was publicity regarding

  Comedian.

         Second, in support of the tortious acts provision of the long-arm statute (Fla. Stat. §

  48.193(1)(a)2), Plaintiff argues that Defendant’s wrongful acts were the sales of Comedian at Art

  Basel in Miami Beach. (Response at 12, 16). 4 However, this ignores all of the elements of the


  4
    Plaintiff cites Yellow Pages Photos, Inc. v. Ziplocal, LP, No. 8:12-cv-755, 2012 WL 2952452 n.
  52 (M.D. Fla. July 19, 2012), for the proposition that copyright infringement takes place at the


                                                    8
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 10 of 12




   tortious acts provision. “[A] nonresident defendant commits a ‘a tortious act within [Florida]’

   when he commits an act outside that state that causes injury within Florida. Louis Vuitton

   Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1353 (11th Cir. 2013). “In copyright infringement cases,

   the situs of injury is generally the state where the copyright owner resides.” Venus Fashion, Inc.

   v. Changchun Chengji Tech. Co., No. 16-61752-CIV-DIMITROULEAS, 2016 WL 10636377, at

   *2 (S.D. Fla. Nov. 2, 2016). Plaintiff does not reside in Florida. (Compl. ¶¶ 1.A., B.1.a).

   Therefore, there is no injury in Florida.

          Third, for the same reason, Plaintiff has failed to show that Defendant “[c]aus[ed] injury

   to persons or property within this state arising out of an act or omission by the defendant outside

   the state,” under Fla. Stat. § 48.193(1)(a)6.

                  2.      Exercising Jurisdiction Over Defendant Would Violate Due Process.

          Even if the Court were to conclude that Florida’s long-arm statute applied here, the exercise

   of personal jurisdiction over Defendant would violate due process.

          First, “[a] fundamental element of the specific calculus is that plaintiff’s claim must arise

   out of or relate to at least of one the defendant’s contacts with the forum.” Louis Vuitton Malletier,

   S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013). Plaintiff argues that his copyright

   infringement claim arises from Defendant’s contacts with Florida because Defendant accepted

   payment from customers in Florida for the sale of his art. (Response at 12). However, Defendant’s

   gallery exhibited Comedian at Art Basel and sold the work – not Defendant. (Cattelan Decl. ¶ 8).




   location of sale or “passing off.” (Response at 16). However, Yellow Pages does not stand for
   that proposition. Even if it did, Art Basel is an international art fair. The market is not Florida
   residents, but collectors and curators from all over the world. See Art Basel Press Release, Dec.
   8, 2019, <https://artbasel.com/stories/show-report> (last visited Jan. 9, 2022) (“Leading private
   collectors from Europe, the Americas, Asia, Africa, and the Middle East attended this year, as well
   as representatives from around 200 museums and institutions.”), attached as Exhibit B.


                                                     9
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 11 of 12




          Second, the Response fails to show Defendant purposefully availed himself of Florida

   under the effects test or the minimum contacts test. As addressed above, the effects of any

   purported copyright infringement would be directed at Plaintiff—who resides outside of Florida.

   Thus, any injury would not have an effect within Florida. See Roberts v. Gordy, No. 13-24700,

   2015 WL 11202324, at *6 (S.D. Fla. Apr. 2, 2015) (finding effects test satisfied where the

   copyright infringement was against Florida residents and citizens). As for the minimum contacts

   test, Defendant did not purposefully direct or conduct any activities in Florida related to Plaintiff’s

   claims. (Cattelan Decl. ¶ 8). Defendant did not create Comedian in Florida. (Id. ¶ 7). Further,

   Perrotin (not Defendant) exhibited the work at Art Basel in Miami Beach in 2019. (Id. ¶ 8). The

   Response’s conclusory claims are insufficient to overcome Defendant’s averments. Posner v.

   Essex. Ins. Co., Ltd., 178 F.3d 1209, 1214 (11th Circ. 1999).

          Defendant’s burden on a motion to vacate a clerk’s default is to show a suggestion of a

   meritorious defense. He has done this.

                                             CONCLUSION

          For these reasons, the Court should set aside entry of default against Defendant. Should

   the Court grant the Motion, Defendant requests a period of thirty (30) days to respond to the

   Complaint.




                                                     10
Case 1:21-cv-20039-RNS Document 38 Entered on FLSD Docket 01/11/2022 Page 12 of 12




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on January 11, 2022, I electronically filed the foregoing with

   the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing

   to all parties and counsel of record.

                                               By: /s/ Julie E. Nevins




                                                 11
